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                                       Exhibit C




{1368.002-W0069444.}                      12
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            November 9, 2022

            FTX Trading Ltd.
            Friar’s Hill Road, Mandolin Place
            Saint John’s, AG-04, Antigua and Barbuda

            Dear Ladies and Gentlemen:

            This letter confirms and sets forth the terms and conditions of the engagement between Alvarez
            & Marsal North America, LLC (“A&M”) and FTX Trading Ltd. and its affiliates who file for
            chapter 11 (jointly and severally, the “Company”), including the scope of the services to be
            performed and the basis of compensation for those services. Upon execution of this letter by
            each of the parties below and receipt of the retainer described below, this letter will constitute an
            agreement between the Company and A&M (the “Agreement”).


            1.       Description of Services

                     (a) A&M shall provide consulting services to the Company at the direction of the
                         Company’s officers and directors (the “Responsible Officer(s)”) in connection with
                         their efforts in seeking to improve the Company’s financial and operating
                         performance, reporting directly to them, and assist the Company in its reorganization
                         efforts. It is anticipated that A&M’s activities shall include the following:

                             (i)      assistance in contingency planning and preparation of related
                                      documentation, relevant reporting and analyses;

                             (ii)     assistance in the development and management of a 13-week cash flow
                                      forecast;

                             (iii)    provide testimony on matters related to our engagement;

                             (iv)     report to the Board as desired or directed by the Responsible Officer(s);
                                      and

                             (v)      other activities as are approved by you, the Responsible Officers or the
                                      Board and agreed to by A&M.

                             In rendering its services to the Company, A&M will report directly to the
                             Responsible Officer(s) and will make recommendations to and consult with the
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                             Responsible Officers and other senior officers as the Board or Responsible
                             Officer(s) direct.

                     (b) In connection with the services to be provided hereunder, from time to time A&M
                         may utilize the services of employees of its affiliates and subsidiaries. Such affiliates
                         are wholly owned by A&M’s parent company and employees.

                         A&M personnel providing services to the Company may also work with other A&M
                         clients in conjunction with unrelated matters.

            2.       Information Provided by the Company and Forward Looking Statements

                     The Company shall use all reasonable efforts to: (i) provide A&M with access to
                     management and other representatives of the Company; and (ii) to furnish all data,
                     material, and other information concerning the business, assets, liabilities, operations,
                     cash flows, properties, financial condition and prospects of the Company that A&M
                     reasonably request in connection with the services to be provided to the Company. A&M
                     shall rely, without further independent verification, on the accuracy and completeness of
                     all publicly available information and information that is furnished by or on behalf of the
                     Company and otherwise reviewed by A&M in connection with the services performed for
                     the Company. The Company acknowledges and agrees that A&M is not responsible for
                     the accuracy or completeness of such information and shall not be responsible for any
                     inaccuracies or omissions therein. A&M is under no obligation to update data submitted
                     to it or to review any other areas unless specifically requested by the Board to do so.

                     You understand that the services to be rendered by A&M may include the preparation of
                     projections and other forward-looking statements, and numerous factors can affect the
                     actual results of the Company’s operations, which may materially and adversely differ
                     from those projections. In addition, A&M will be relying on information provided by the
                     Company in the preparation of those projections and other forward-looking statements.

            3.       Limitation of Duties

                     A&M makes no representation or guarantee that, inter alia, (i) an appropriate
                     restructuring proposal or strategic alternative can be formulated for the Company (ii) any
                     restructuring proposal or strategic alternative presented to the Company’s management or
                     the Board or Responsible Officers will be more successful than all other possible
                     restructuring proposals or strategic alternatives, (iii) restructuring is the best course of
                     action for the Company or (iv) if formulated, that any proposed restructuring plan or
                     strategic alternative will be accepted by any of the Company’s creditors, shareholders and
                     other constituents. Further, A&M does not assume any responsibility for the Company’s
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                     decision to pursue, or not pursue any business strategy, or to effect, or not to effect any
                     transaction. A&M shall be responsible for assistance with the implementation only of the
                     restructuring proposal or strategic alternative approved by the Board or Responsible
                     Officers and only to the extent and in the manner authorized by and directed by the Board
                     or Responsible Officers and agreed to by A&M.

                     Depending on future developments the spread of the Coronavirus has the potential to
                     affect the services provided under this Agreement. Travel, work place and mobility
                     restrictions (to include measures reasonably mandated by A&M with respect to its
                     employees and personnel) may restrict travel to the Company and other work sites as well
                     as limit access to facilities, infrastructure, information and personnel of A&M, the
                     Company or others. Such circumstances may adversely affect the timetable or content of
                     A&M's deliverables and completion of the scope of services included in this Agreement.
                     A&M will discuss with the Company if A&M believes that the services may be impacted
                     in this way. The Company accepts and acknowledges that A&M employees and
                     personnel may attend at the Company’s locations or physically interact with the
                     Company’s employees and personnel in connection with the services, unless A&M or the
                     Company decide that this should not be the case.

            4.       Compensation

                     (a) A&M will receive fees based on the following hourly rates:

                             Managing Directors              $975-1,295
                             Directors                       $750-950
                             Analysts/Associates             $425-750

                             Such rates shall be subject to adjustment annually at such time as A&M adjusts its
                             rates generally.

                     (b) In addition, A&M will be reimbursed for its reasonable out-of-pocket expenses
                         incurred in connection with this assignment, such as travel, lodging, meals,
                         messenger and wireless charges. A&M also charges a flat rate of 3% of professional
                         fees to cover otherwise unbilled items such as telephone and conferencing charges,
                         computer use, technology and software license fees, research subscriptions and other
                         internal services. All fees and expenses will be billed on a weekly basis or, at A&M’s
                         discretion, more frequently. Invoices are payable upon receipt.

                     (c) The Company shall promptly remit to A&M a retainer in the amount of
                         $1,000,000.00 (the “Retainer”). The Retainer will be held in a segregated non-
                         interest-bearing account (which may hold other A&M and A&M affiliate client
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                         retainers), separate from the general account to which A&M will direct payment of
                         ongoing fees and expenses. Absent your agreement to the contrary, A&M may only
                         draw on the Retainer (or a portion thereof) in order to apply to invoices that are due
                         and payable or other amounts due under this Agreement or as the Company may
                         otherwise agree and the Company will be informed of such application of the
                         Retainer. If a Retainer is to be increased or decreased, the foregoing shall apply.

            5.       Term

                     (a) This Agreement will apply from the commencement of the services referred to in
                         Section 1 and may be terminated with immediate effect by either party without cause
                         by written notice to the other party.

                     (b) A&M normally does not withdraw from an engagement unless the Company
                         misrepresents or fails to disclose material facts, fails to pay fees or expenses, or
                         makes it unethical or unreasonably difficult for A&M to continue performance of the
                         engagement, or other just cause exists.

                     (c) On termination of the Agreement, any fees and expenses due to A&M shall be
                         remitted promptly (including fees and expenses that accrued prior to but are invoiced
                         subsequent to such termination).

                     (d) The provisions of this Agreement that give the parties rights or obligations beyond its
                         termination shall survive and continue to bind the parties.

            6.       Relationship of the Parties

                     The parties intend that an independent contractor relationship will be created by this
                     engagement letter. Neither A&M nor any of its personnel or agents is to be considered
                     an employee or agent of the Company and the personnel and agents of A&M are not
                     entitled to any of the benefits that the Company provides for the Company employees.
                     The Company acknowledges and agrees that A&M's engagement shall not constitute an
                     audit, review or compilation, or any other type of financial statement reporting
                     engagement that is subject to the rules of the AICPA, SEC or other state or national
                     professional or regulatory body.

            7.       No Third Party Beneficiary

                     The Company acknowledges that all advice (written or oral) provided by A&M to the
                     Company in connection with this engagement is intended solely for the benefit and use of
                     the Company (limited to its Board and management) in considering the matters to which
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                     this engagement relates. The Company agrees that no such advice shall be used for any
                     other purpose or reproduced, disseminated, quoted or referred to at any time in any
                     manner or for any purpose other than accomplishing the tasks referred to herein without
                     A&M’s prior approval (which shall not be unreasonably withheld), except as required by
                     law.

            8.       Conflicts

                     A&M is not currently aware of any relationship that would create a conflict of interest
                     with the Company or those parties-in-interest of which you have made us aware. We note
                     that A&M has made certain personnel available to provide financial advisory services to
                     Celsius Network LLC, and its affiliated debtors and debtors-in-possession (“Celsius”) in
                     connection with Celsius’ Chapter 11 bankruptcy cases. The Company has an account
                     with Celsius and is a creditor in Celsius’ Chapter 11 cases.            Because of A&M’s
                     representation of Celsius, A&M personnel will recuse themselves on this engagement
                     from any involvement in disputes related to the Company’s Celsius account or other
                     matters adverse to Celsius. In addition, A&M will institute an information barrier to
                     ensure that confidentiality of information is protected and that the engagements are not
                     cross-staffed.     Because A&M and its affiliates and subsidiaries comprise a consulting
                     firm (the “Firm”) that serves clients on a global basis in numerous cases, both in and out
                     of court, it is possible that the Firm may have rendered or will render services to or have
                     business associations with other entities or people which had or have or may have
                     relationships with the Company, including creditors of the Company. The Firm will not
                     be prevented or restricted by virtue of providing the services under this Agreement from
                     providing services to other entities or individuals, including entities or individuals whose
                     interests may be in competition or conflict with the Company’s, provided the Firm makes
                     appropriate arrangements to ensure that the confidentiality of information is maintained.
                     Each of the entities comprising the definition of Company (each, a “Company Entity”)
                     acknowledges and agrees that the services being provided hereunder are being provided
                     on behalf of each of them and each of them hereby waives any and all conflicts of interest
                     that may arise on account of the services being provided on behalf of any other Company
                     Entity. Each Company Entity represents that it has taken all corporate action necessary
                     and is authorized to waive such potential conflicts of interest.

            9.       Confidentiality / Non-Solicitation

                     A&M shall keep as confidential all non-public information received from the Company
                     in conjunction with this engagement, except: (i) as requested by the Company or its legal
                     counsel; (ii) as required by legal proceedings or (iii) as reasonably required in the
                     performance of this engagement. All obligations as to non-disclosure shall cease as to
                     any part of such information to the extent that such information is or becomes public
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                     other than as a result of a breach of this provision. The Company, on behalf of itself and
                     its subsidiaries and affiliates and any person which may acquire all or substantially all of
                     its assets agrees that, until two (2) years subsequent to the termination of this
                     engagement, it will not solicit, recruit, hire or otherwise engage any employee of A&M
                     or any of its affiliates who worked on this engagement while employed by A&M or its
                     affiliates (“Solicited Person”). Should the Company or any of its subsidiaries or affiliates
                     or any person who acquires all or substantially all of its assets extend an offer of
                     employment to or otherwise engage any Solicited Person and should such offer be
                     accepted, A&M shall be entitled to a fee from the Company equal to the Solicited
                     Person’s hourly client billing rate at the time of the offer multiplied by 4,000 hours for a
                     Managing Director, 3,000 hours for a Senior Director and 2,000 hours for any other
                     A&M employee. The Company acknowledges and agrees that this fee fairly represents
                     the loss that A&M will suffer if the Company breaches this provision. The fee shall be
                     payable at the time of the Solicited Person’s acceptance of employment or engagement.

            10.      Indemnification and Limitations on Liability

                     The attached indemnification and limitation on liability agreement is incorporated herein
                     by reference and shall be executed upon the acceptance of this Agreement. Termination
                     of this engagement shall not affect these indemnification and limitation on liability
                     provisions, which shall remain in full force and effect.

            11.      Data Protection. In the provision of Services under this Agreement, A&M may collect,
                     access, process, store, or transfer Company Personal Data (as defined below). A&M and
                     Company shall each comply with all Data Protection Laws (as defined below) directly
                     applicable to their respective processing of Company Personal Data. A&M shall
                     implement and maintain appropriate physical, technical, and organizational safeguards
                     reasonably designed to protect the security of Company Personal Data. A&M shall
                     notify Company without undue delay (within 72 hours) of becoming aware of any
                     Personal Data Breach (as defined below) affecting Company Personal Data. Company is
                     responsible for providing notices to, and obtaining consents from, any individuals whose
                     Personal Data will be processed by A&M as part of the Services, to the extent any such
                     notice and/or consent is required under applicable Data Protection Laws; and, for
                     responding to any personal data access, deletion, and/or similar requests made under
                     applicable Data Protection Laws. Company shall use reasonable efforts, where able, to
                     limit the Company Personal Data that it provides or makes available to A&M to only
                     information that is necessary for A&M’s performance of the Services, including by
                     removing and/or de-identifying datasets where feasible. Company is responsible for
                     determining the requirements of Data Protection Laws applicable to its business, and for
                     providing A&M with any instructions that A&M must comply with in order for Company
                     to satisfy its own regulatory obligations. If Company’s transfer of Company Personal
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                     Data to A&M would be prohibited by General Data Protection Regulation 2016/679 of
                     the European Parliament and of the Council (“GDPR”) or other Data Protection Laws in
                     the absence of an adequacy decision, standard contractual clauses, or other permitted
                     transfer mechanism, Company shall be responsible for ensuring that appropriate
                     safeguards are in place including, where applicable, by entering into appropriate standard
                     contractual clauses with A&M. Company acknowledges that A&M may, where relevant
                     to the Services, transfer Company Personal Data to third parties, including, but not
                     limited to, other agents and professionals of the Company acting within this matter (i.e.,
                     the Company’s counsel, other advisors or agents) as well as, at Company’s direction,
                     other Company constituents; and, that A&M’s transfer of such data directly to third
                     parties (rather than by the Company to a third party) is for the Company’s convenience
                     and such transfers shall always be deemed to be on the Company’s behalf.

                     As used herein, “Data Protection Laws” means all laws, rules and regulations pertaining
                     to the privacy and security of Personal Data; “Personal Data” means all “personal data”,
                     “personal information”, “personally identifiable information” and similarly defined terms
                     under Data Protection Laws directly applicable to Company and/or A&M in connection
                     with A&M’s performance of the Services, or where no such laws apply, any information
                     that identifies or relates to an identified individual; “Company Personal Data” means any
                     Personal Data (in respect of Company (e.g., its own workforce) or any third-party (e.g.,
                     target entity, creditor, supplier, etc.) that Company provides or makes available to A&M
                     (e.g., through a data room) in connection with A&M’s performance of the Services, but
                     excludes contact details of Company personnel that A&M processes in order to manage
                     the business relationship with Company; and, “Personal Data Breach” means any breach
                     of security leading to the accidental or unlawful destruction, loss, alteration, unauthorized
                     disclosure of, or access to, Personal Data.

            12.      Joint and Several Liability

                     Each Company Entity hereby acknowledges and agrees that they are each jointly and
                     severally liable to A&M and its affiliates for all of the Company's representations,
                     warranties, covenants, liabilities and obligations set forth in the Agreement. Any
                     beneficiary of this agreement may seek to enforce any of its rights and remedies
                     hereunder against any or all Company Entities in any order at any time in its sole
                     discretion.

            13.      Miscellaneous

                     This Agreement (together with the attached indemnity provisions), including, without
                     limitation, the construction and interpretation thereof and all claims, controversies and
                     disputes arising under or relating thereto, shall be governed and construed in accordance
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                     with the laws of the State of New York, without regard to principles of conflict of law
                     that would defer to the laws of another jurisdiction. The Company and A&M agree to
                     waive trial by jury in any action, proceeding or counterclaim brought by or on behalf of
                     the parties hereto with respect to any matter relating to or arising out of the engagement
                     or the performance or non-performance of A&M hereunder. The Company and A&M
                     agree, to the extent permitted by applicable law, that any Federal Court sitting within the
                     Southern District of New York shall have exclusive jurisdiction over any litigation
                     arising out of this Agreement; to submit to the personal jurisdiction of the Courts of the
                     United States District Court for the Southern District of New York; and to waive any and
                     all personal rights under the law of any jurisdiction to object on any basis (including,
                     without limitation, inconvenience of forum) to jurisdiction or venue within the State of
                     New York for any litigation arising in connection with this Agreement.

                     This Agreement shall be binding upon A&M and the Company, their respective heirs,
                     successors, and assignees, and any heir, successor, or assignee of a substantial portion of
                     A&M’s or the Company’s respective businesses and/or assets, including any Chapter 11
                     Trustee. This Agreement incorporates the entire understanding of the parties with respect
                     to the subject matter hereof and may not be amended or modified except in writing
                     executed by the Company and A&M. The Company agrees that A&M may aggregate
                     information provided by or on behalf of the Company during this engagement with
                     information provided by or on behalf of others and use and disclose that information in
                     de-identified form as part of research and advice, including, without limitation,
                     benchmarking services. Notwithstanding anything herein to the contrary, A&M may
                     reference or list the Company’s name and/or logo and/or a general description of the
                     services in A&M’s marketing materials, including, without limitation, on A&M’s
                     website.

            If the foregoing is acceptable to you, kindly sign the enclosed copy to acknowledge your
            agreement with its terms.

                                                             Very truly yours,

                                                             Alvarez & Marsal North America, LLC


                                                             By:    ____________________
                                                                    Ed Mosley
                                                                    Title: Managing Director

                             Accepted and agreed:
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                             FTX Trading Ltd.
                             on behalf of itself and its affiliates



                             By:      _____________________
                                      Timothy Wilson, Authorized Signatory
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                     INDEMNIFICATION AND LIMITATION ON LIABILITY AGREEMENT

            This indemnification and limitation on liability agreement is made part of an agreement, dated
            November 9, 2022 (which together with any renewals, modifications or extensions thereof, is
            herein referred to as the "Agreement"), by and between Alvarez & Marsal North America, LLC
            ("A&M”) and FTX Trading Ltd. and its affiliates (jointly and severally, the “Company”), for
            services to be rendered to the Company by A&M.

            A.      The Company agrees to indemnify and hold harmless each of A&M, its affiliates and
            their respective shareholders, members, managers, employees, agents, representatives and
            subcontractors (each, an "Indemnified Party" and collectively, the "Indemnified Parties") against
            any and all losses, claims, damages, liabilities, penalties, obligations and expenses, including the
            costs for counsel or others (including employees of A&M, based on their then current hourly
            billing rates) in investigating, preparing or defending any action or claim, whether or not in
            connection with litigation in which any Indemnified Party is a party, or enforcing the Agreement
            (including these indemnity provisions), as and when incurred, caused by, relating to, based upon
            or arising out of (directly or indirectly) the Indemnified Parties' acceptance of or the performance
            or nonperformance of their obligations under the Agreement; provided, however, such indemnity
            shall not apply to any such loss, claim, damage, liability or expense to the extent it is found in a
            final judgment by a court of competent jurisdiction (not subject to further appeal) to have
            resulted primarily and directly from such Indemnified Party's gross negligence or willful
            misconduct. The Company also agrees that (a) no Indemnified Party shall have any liability
            (whether direct or indirect, in contract or tort or otherwise) to the Company for or in connection
            with the engagement of A&M, except to the extent that any such liability for losses, claims,
            damages, liabilities or expenses are found in a final judgment by a court of competent
            jurisdiction (not subject to further appeal) to have resulted primarily and directly from such
            Indemnified Party's gross negligence or willful misconduct and (b) in no event will any
            Indemnified Party have any liability to the Company for special, consequential, incidental or
            exemplary damages or loss (nor any lost profits, savings or business opportunity). The Company
            further agrees that it will not, without the prior consent of an Indemnified Party, settle or
            compromise or consent to the entry of any judgment in any pending or threatened claim, action,
            suit or proceeding in respect of which such Indemnified Party seeks indemnification hereunder
            (whether or not such Indemnified Party is an actual party to such claim, action, suit or
            proceedings) unless such settlement, compromise or consent includes an unconditional release of
            such Indemnified Party from all liabilities arising out of such claim, action, suit or proceeding.

            B.      These indemnification provisions shall be in addition to any liability which the Company
            may otherwise have to the Indemnified Parties. In the event that, at any time whether before or
            after termination of the engagement or the Agreement, as a result of or in connection with the
            Agreement or A&M’s and its personnel’s role under the Agreement, A&M or any Indemnified
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            Party is required to produce any of its personnel (including former employees) for examination,
            deposition or other written, recorded or oral presentation, or A&M or any of its personnel
            (including former employees) or any other Indemnified Party is required to produce or otherwise
            review, compile, submit, duplicate, search for, organize or report on any material within such
            Indemnified Party’s possession or control pursuant to a subpoena or other legal (including
            administrative) process, the Company will reimburse the Indemnified Party for its out of pocket
            expenses, including the reasonable fees and expenses of its counsel, and will compensate the
            Indemnified Party for the time expended by its personnel based on such personnel’s then current
            hourly rate.

            C.      If any action, proceeding or investigation is commenced to which any Indemnified Party
            proposes to demand indemnification hereunder, such Indemnified Party will notify the Company
            with reasonable promptness; provided, however, that any failure by such Indemnified Party to
            notify the Company will not relieve the Company from its obligations hereunder, except to the
            extent that such failure shall have actually prejudiced the defense of such action. The Company
            shall promptly pay expenses reasonably incurred by any Indemnified Party in defending,
            participating in, or settling any action, proceeding or investigation in which such Indemnified
            Party is a party or is threatened to be made a party or otherwise is participating in by reason of
            the engagement under the Agreement, upon submission of invoices therefor, whether in advance
            of the final disposition of such action, proceeding, or investigation or otherwise. Each
            Indemnified Party hereby undertakes, and the Company hereby accepts its undertaking, to repay
            any and all such amounts so advanced if it shall ultimately be determined that such Indemnified
            Party is not entitled to be indemnified therefor. If any such action, proceeding or investigation in
            which an Indemnified Party is a party is also against the Company, the Company may, in lieu of
            advancing the expenses of separate counsel for such Indemnified Party, provide such
            Indemnified Party with legal representation by the same counsel who represents the Company,
            provided such counsel is reasonably satisfactory to such Indemnified Party, at no cost to such
            Indemnified Party; provided, however, that if such counsel or counsel to the Indemnified Party
            shall determine that due to the existence of actual or potential conflicts of interest between such
            Indemnified Party and the Company such counsel is unable to represent both the Indemnified
            Party and the Company, then the Indemnified Party shall be entitled to use separate counsel of its
            own choice, and the Company shall promptly advance its reasonable expenses of such separate
            counsel upon submission of invoices therefor. Nothing herein shall prevent an Indemnified Party
            from using separate counsel of its own choice at its own expense. The Company will be liable
            for any settlement of any claim against an Indemnified Party made with the Company's written
            consent, which consent shall not be unreasonably withheld.

            D.     In order to provide for just and equitable contribution if a claim for indemnification
            pursuant to these indemnification provisions is made but it is found in a final judgment by a
            court of competent jurisdiction (not subject to further appeal) that such indemnification may not
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            be enforced in such case, even though the express provisions hereof provide for indemnification,
            then the relative fault of the Company, on the one hand, and the Indemnified Parties, on the other
            hand, in connection with the statements, acts or omissions which resulted in the losses, claims,
            damages, liabilities and costs giving rise to the indemnification claim and other relevant
            equitable considerations shall be considered; and further provided that in no event will the
            Indemnified Parties' aggregate contribution for all losses, claims, damages, liabilities and
            expenses with respect to which contribution is available hereunder exceed the amount of fees
            actually received by the Indemnified Parties pursuant to the Agreement. No person found liable
            for a fraudulent misrepresentation shall be entitled to contribution hereunder from any person
            who is not also found liable for such fraudulent misrepresentation.

            E.     In the event the Company and A&M seek judicial approval for the assumption of the
            Agreement or authorization to enter into a new engagement agreement pursuant to either of
            which A&M would continue to be engaged by the Company, the Company shall promptly pay
            expenses reasonably incurred by the Indemnified Parties, including attorneys' fees and expenses,
            in connection with any motion, action or claim made either in support of or in opposition to any
            such retention or authorization, whether in advance of or following any judicial disposition of
            such motion, action or claim, promptly upon submission of invoices therefor and regardless of
            whether such retention or authorization is approved by any court. The Company will also
            promptly pay the Indemnified Parties for any expenses reasonably incurred by them, including
            attorneys' fees and expenses, in seeking payment of all amounts owed it under the Agreement (or
            any new engagement agreement) whether through submission of a fee application or in any other
            manner, without offset, recoupment or counterclaim, whether as a secured claim, an
            administrative expense claim, an unsecured claim, a prepetition claim or a postpetition claim.

            F.      Neither termination of the Agreement nor termination of A&M's engagement nor the
            filing of a petition under Chapter 7 or 11 of the United States Bankruptcy Code (nor the
            conversion of an existing case to one under a different chapter) shall affect these indemnification
            provisions, which shall hereafter remain operative and in full force and effect.

            G.    The rights provided herein shall not be deemed exclusive of any other rights to which the
            Indemnified Parties may be entitled under the certificate of incorporation or bylaws of the
            Company, any other agreements, any vote of stockholders or disinterested directors of the
            Company, any applicable law or otherwise.
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            FTX TRADING LTD.                                      ALVAREZ & MARSAL NORTH AMERICA,
            on behalf of itself and its affiliates                LLC



                                                                  By: _________________________
            By: _________________________                         Name: Ed Mosley
            Name: Timothy Wilson                                  Title: Managing Director
            Title: Authorized Signatory
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As of November 9, 2022

FTX Trading Ltd.
Friar’s Hill Road, Mandolin Place
Saint John’s, AG-04, Antigua and Barbuda

Dear Ladies and Gentlemen:

This letter amends and supplements the engagement letter dated November 9, 2022 (the
“Agreement”), between Alvarez & Marsal North America, LLC (“A&M”) and FTX Trading Ltd.
and its affiliated debtors and debtors-in-possession (jointly and severally, the “Company”). As
of the date set forth above, this letter will constitute an agreement between the Company and
A&M (the “Amendment”).


Section 11 “Data Protection” is revised to add the following language:

(a) “CCPA” means the California Consumer Privacy Act of 2018, as amended by the California
    Privacy Rights Act (“CPRA”) when in force, including all regulations issued thereunder.
    The terms “personal information”, “consumer”, “business”, “service provider”, “business
    purpose”, “commercial purpose”, “sell” and “share” shall have the meanings defined under
    CCPA.

(b) Company instructs A&M to process Company Personal Data on its behalf to provide the
    services as set forth in (i) Paragraph 1(a) of this Agreement and (ii) Section 11 of the
    Debtors’ Application to Employ and Retain Alvarez & Marsal North America, LLC as
    Financial Advisors to Debtors and Debtors in Possession Pursuant to Sections 327(a) and
    328 of the Bankruptcy Code Nunc Pro Tunc to the Petition Date (the “Application”)
    Together, (i) and (ii) are referred to herein as the “Business Purpose”. In connection with the
    foregoing, Company further instructs A&M to transfer Company Personal Data to (i)
    Company’s other agents and professionals acting within the context of this engagement (e.g.,
    Company’s counsel, accountant, claims agent, etc.), and (ii) other constituents in this
    engagement, including but not limited to creditors and their representatives as well as any
    applicable judicial, regulatory, or governmental bodies. Company permits A&M, where
    reasonably necessary in connection with the Business Purpose, to transfer (including permit
    remote access to) Company Personal Data to employees of A&M’s affiliates and vendors
    engaged to assist A&M in processing Company Personal Data for the Business Purpose,
    including, where Company specifically consents in writing (e-mail to suffice), to employees
    of A&M affiliates and vendors located outside the United States. Company acknowledges
    that A&M’s transfer of Company Personal Data as described herein is for Company’s
    convenience and that such transfers shall always be deemed to be made on Company’s behalf
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   and at its instruction. Notwithstanding the foregoing, A&M may process Company Personal
   Data for other purposes if such processing is required by laws or regulations applicable to
   A&M, in which case A&M shall inform Company of that legal requirement before such
   processing unless such law or regulation prohibits A&M from sharing such information.
   A&M shall immediately inform Company if, in A&M’s opinion, Company’s instructions
   infringe applicable Data Protection Laws, or if A&M determines it can no longer meet its
   obligations under applicable Data Protection Laws.

(c) A&M shall reasonably assist Company in responding to any personal data access, deletion,
    and/or similar requests made under applicable Data Protection Laws.

(d) A&M shall notify Company when it engages any vendor to assist A&M in processing
    Company Personal Data for the Business Purpose. A&M’s agreements with such vendors
    shall include privacy and data protection terms no less protective than as set forth in
    Paragraph 11 of this Agreement.

(e) To the extent A&M will process Company Personal Data about California consumers (as
    defined under CCPA), A&M and Company further agree A&M shall not: (i) sell or share
    Company Personal Data; (ii) retain, use, or disclose Company Personal Data for any purpose
    other than for the Business Purpose; (iii) retain, use, or disclose Company Personal Data for a
    commercial purpose other than the Business Purpose, or as otherwise permitted under CCPA;
    (iv) retain, use, or disclose Company Personal Data outside of the direct business relationship
    between Company and A&M, except as otherwise permitted under CCPA; or (v) combine
    Company Personal Data it receives from, or on behalf of, Company with personal
    information that it receives from, or on behalf of, another person or persons, or collects from
    its own interaction with the consumer, provided that A&M may combine personal
    information to perform any business purpose as defined in regulations adopted pursuant to
    Cal. Civ. Code § 1798.185(a)(10), except as provided for in Cal. Civ. Code § 1798.140(e)(6)
    and in regulations adopted by the California Privacy Protection Agency.

(f) A&M shall, upon Company’s request, make available to Company all information necessary
    to demonstrate compliance with applicable Data Protection Laws and this Agreement.

In the event of any conflict between Paragraph 11 of the Agreement and this Amendment, this
Amendment shall control. All other provisions of the Agreement shall remain in full force and
effect.

If the foregoing is acceptable to you, kindly sign the enclosed copy to acknowledge your
agreement with its terms.
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  Very truly yours,

                                  Alvarez & Marsal North America, LLC


                                  By:     ____________________
                                          Ed Mosley
                                          Title: Managing Director

  Accepted and agreed:

  FTX Trading Ltd.
  on behalf of itself and its affiliated debtors
  and debtors-in-possession



  By:     _____________________
          John J. Ray III, Chief Executive Officer
